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                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA


CRAIG CUNNINGHAM,                    ) Case No.
Plaintiff,                           )
                                     )
       vs.                           ) COMPLAINT FOR VIOLATIONS
                                       OF:
                                     )
HEALTH PLAN INTERMEDIARIES           )
HOLDINGS, LLC dba HEALTH                   1.     NEGLIGENT VIOLATIONS
                                     )            OF THE TELEPHONE
INSURANCE INNOVATIONS; and                        CONSUMER PROTECTION
DOES 1-100;                          )            ACT, 47 U.S.C. §227(b)
Defendant.                           )     2.     WILLFUL VIOLATIONS
                                                  OF THE TELEPHONE
                                     )            CONSUMER PROTECTION
                                                  ACT, 47 U.S.C. §227(b)
                                     )     3.     NEGLIGENT VIOLATIONS
                                                  OF THE TELEPHONE
                                     )            CONSUMER PROTECTION
                                                  ACT, 47 U.S.C. §227(c)
                                     )
                                           4.     WILLFUL VIOLATIONS
                                     )            OF THE TELEPHONE
                                                  CONSUMER PROTECTION
                                     )            ACT, 47 U.S.C. §227(c)
                                     )
                                     ) DEMAND FOR JURY TRIAL
                                     )
                                     )
                                     )
                                     )
                                     )




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        Plaintiff CRAIG CUNNINGHAM (“Plaintiff”) alleges the following upon
information and belief based upon personal knowledge:

                           NATURE OF THE CASE

        1.   Plaintiff brings this action seeking damages and any other available
legal or equitable remedies resulting from the illegal actions of: HEALTH PLAN
INTERMEDIARIES          HOLDINGS,        LLC     dba    HEALTH       INSURANCE
INNOVATIONS (“Defendant”), in negligently, knowingly, and/or willfully
contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading
Plaintiff’s privacy.

                          JURISDICTION & VENUE

        2.   Jurisdiction is proper under 28 U.S.C. § 1331 because Plaintiff
alleges violations of federal law, in particular the Telephone Consumer Protection
Act, 47 U.S.C. § 227 et seq.

        3.   Venue is proper in the United States District Court for the Middle
District of Florida pursuant to 18 U.S.C.       1391(b) because all Defendant is
headquartered with its principal place of business in Tampa, Florida.

                                    PARTIES

        4.   Plaintiff, CRAIG CUNNINGHAM (“Plaintiff”), is a natural person
residing in Nashville, Tennessee and is a “person” as defined by 47 U.S.C. § 153
(39).

        5.   Defendant HEALTH PLAN INTERMEDIARIES HOLDINGS,
LLC, dba HEALTH INSURANCE INNOVATIONS (“HPIH”) is a Florida
corporation incorporated in Delaware, and is a “person” as defined by 47 U.S.C. §

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153 (39).

        6.    The above named Defendant, and its subsidiaries and agents, are
collectively referred to as “Defendants.” The true names and capacities of the
Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
names. Each of the Defendants designated herein as a DOE is legally responsible
for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
the Complaint to reflect the true names and capacities of the DOE Defendants
when such identities become known.

        7.    Plaintiff is informed and believes that at all relevant times, each and
every Defendant was acting as an agent and/or employee of each of the other
Defendants and was acting within the course and scope of said agency and/or
employment with the full knowledge and consent of each of the other Defendants.
Plaintiff is informed and believes that each of the acts and/or omissions
complained of herein was made known to, and ratified by, each of the other
Defendants.

                           FACTUAL ALLEGATIONS
        8.    Beginning in or around October, 2016, Defendant contacted Plaintiff
on Plaintiff’s cellular telephone number ending in -1977, in an attempt to solicit
Plaintiff to purchase Defendants’ insurance services.

        9.    Defendants continued to numerously call Plaintiff’s cellular
telephone in excess of one hundred (100) times, continuing through February,
2017.

        10.   Defendants used an “automatic telephone dialing system”, as defined
by 47 U.S.C. § 227(a)(1) to place their calls to Plaintiff seeking to solicit their

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services.

      11.    When Plaintiff would answer these calls, there would be a long
pause before a prerecorded message began to play, attempting to solicit
Defendants’ insurance services. This system involved a call center agent clicking
on prerecorded messages to give the opening message and reply to Plaintiff’s
responses. This is known in industry jargon as an “Avatar” type system.

      12.    The prerecorded message played when Plaintiff answered the phone
was: “Hi, my name is Michael and I’m calling from the National Health
Insurance Enrollment Center. The reason for me call is regarding your previous
interest in insurance. We can help you find some affordable health care with
benefits that include doctors, hospitals, even emergency room visits. Do you
have a few minutes to see what plans are available to you?”

      13.    Plaintiff had never expressed any interest in health insurance, as he
already receives health insurance for life through the VA at no cost to himself.

      14.    The numerosity and pattern of calls received by Plaintiff was is also
indicative of an automatic telephone dialing system. Plaintiff received a high
volume of incoming calls from Defendants, sometimes even receiving multiple
calls within a single minute.

      15.    Defendants contacted or attempted to contact Plaintiff from multiple
different telephone numbers.

      16.    Defendants’ calls constituted calls that were not for emergency
purposes as defined by 47 U.S.C. § 227(b)(1)(A).

      17.    Defendants’ calls were placed to telephone number assigned to a
cellular telephone service for which Plaintiff incurs a charge for incoming calls


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pursuant to 47 U.S.C. § 227(b)(1).

      18.    During all relevant times, Defendants did not possess Plaintiff’s
“prior express consent” to receive calls using an automatic telephone dialing
system or an artificial or prerecorded voice on his cellular telephone pursuant to
47 U.S.C. § 227(b)(1)(A).

      19.    Additionally, based off the pattern and content of the calls, Plaintiff
alleges that Defendants violated the terms of an internal do-not-call list for
telemarketing purposes in violation of 47 U.S.C. § 227(c), which incorporates the
provisions of 47 C.F.R. 64.1200(d).

      20.    Plaintiff mailed a letter to Defendant expressing that Defendants did
not have Plaintiff’s consent to contact him. Despite this, Defendants continued to
call Plaintiff’s cellular phone to solicit services. Some of these calls were also for
the purpose of asking Plaintiff why they were told not to call Plaintiff’s number, a
clear attempt to get their foot in the door to continue soliciting products to
Plaintiff, or at the very least, dual purpose calls that carried a solicitation purpose.

      21.    Plaintiff received a call from Defendants just two days after being
told not to call Plaintiff, and attempted to solicit insurance.

      22.    Even after filing a lawsuit against Defendants in a different
jurisdiction and serving Defendants with notice, Plaintiff continued to receive
multiple calls from Defendants.

      23.    As Defendants stand to profit and benefit from Plaintiff’s enrollment
in their services, and simply from placing the calls themselves, each and every
Defendant is liable for these calls as a “Seller” as defined by the TCPA and FCC,
even if they did not directly place the calls to Plaintiff.


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      24.    The individual corporate officers and managers of each of the
corporate entities are liable for the calls placed on behalf of or for their benefit.
They are personally liable for the TCPA damages as they had direct, personal
participation in causing the illegal calls to be placed, as well as directly
authorizing the illegal calls.

      25.    The individual corporate officers also failed to implement
appropriate policies or procedures designed to comply with the TCPA, which
makes them personally liable for the illegal calls made on their behalf or for their
benefit.

      26.    These phone calls violated the TCPA in two ways: (1) by placing
multiple automated telephone calls to Plaintiff’s cell phone in violation of 47
U.S.C. 227(b), and (2) by not conforming to the requirements of 47 U.S.C.
227(c)(5) and the FCC’s rulemaking authority under 47 C.F.R. 64. 1200(d),
which requires Defendants to have a written policy for maintaining a Do Not Call
list, a failure to train agents and personnel engaged in telemarketing to consumers
on the Do Not Call list, and the failure to identify the party making the call or the
entity for which the call is being placed.

      27.    Each and every defendant is jointly liable to Plaintiff for damages,
and each product offered to Plaintiff constitutes a separate cause of action for
which Defendants are liable.

      28.    Plaintiff alleges direct, vicarious, joint and several liability for each
and every defendant and the officers of each Defendant.

      29.    Plaintiff has suffered actual damages in the form of enrollment fees
charged by Defendants.

      30.    Through these actions, Plaintiff suffered an invasion of a legally

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protected interest in privacy, which is specifically addressed and protected by the
TCPA.

      31.    Defendants’ calls forced Plaintiff to live without the utility of their
cellular phones by forcing Plaintiff to silence his cellular phone and/or block
incoming numbers. Additionally, Defendants’ actions has caused Plaintiff to
suffer significant mental and emotional harm, including but not limited to
annoyance, frustration, and anger, loss of cell phone and reduction of battery life
on his phone due to the calls.

                          FIRST CAUSE OF ACTION
       Negligent Violations of the Telephone Consumer Protection Act
                                 47 U.S.C. §227(b)
      32.    Plaintiff repeats and incorporates by reference into this cause of
action the allegations set forth in all paragraphs above.
      33.    The foregoing acts and omissions of Defendants constitute
numerous and multiple negligent violations of the TCPA, including but not
limited to each and every one of the above cited provisions of 47 U.S.C. §
227(b).
      34.    As a result of Defendants’ negligent violations of 47 U.S.C. §
227(b), Plaintiff is are entitled an award of $500.00 in statutory damages, for
each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
      35.    Plaintiff is also entitled to and seek injunctive relief prohibiting such
conduct in the future.
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                         SECOND CAUSE OF ACTION

 Knowing and/or Willful Violations of the Telephone Consumer Protection
                                   Act
                              47 U.S.C. §227 et seq.
      36.    Plaintiff repeats and incorporates by reference into this cause of
action the allegations set forth in all paragraphs above.
      37.    The foregoing acts and omissions of Defendants constitute
numerous and multiple knowing and/or willful violations of the TCPA, including
but not limited to each and every one of the above cited provisions of 47 U.S.C.
§ 227(b).
      38.    As a result of Defendants’ knowing and/or willful violations of 47
U.S.C. § 227(b), Plaintiff is entitled an award of $1,500.00 in statutory damages,
for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.
§ 227(b)(3)(C).
      39.    Plaintiff is also entitled to and seek injunctive relief prohibiting such
conduct in the future.

                         THIRD CAUSE OF ACTION

       Negligent Violations of the Telephone Consumer Protection Act
                                47 U.S.C. §227(c)
      40.    Plaintiff repeats and incorporates by reference into this cause of
action the allegations set forth in all paragraphs above.
      41.    The foregoing acts and omissions of Defendants constitute
numerous and multiple negligent violations of the TCPA, including but not
limited to each and every one of the above cited provisions of 47 U.S.C. §
227(c).
      42.    As a result of Defendants’ negligent violations of 47 U.S.C. §

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227(c), Plaintiff is entitled an award of $500.00 in statutory damages, for each
and every violation, pursuant to 47 U.S.C. § 227(c)(5).
      43.    Plaintiff is entitled to and seek injunctive relief prohibiting such
conduct in the future.

                         FOURTH CAUSE OF ACTION

 Knowing and/or Willful Violations of the Telephone Consumer Protection
                                   Act
                                47 U.S.C. §227(c)
      44.    Plaintiff repeats and incorporates by reference into this cause of
action the allegations set forth in all paragraphs above.
      45.    The foregoing acts and omissions of Defendants constitute
numerous and multiple knowing and/or willful violations of the TCPA, including
but not limited to each and every one of the above cited provisions of 47 U.S.C.
§ 227(c).
      46.    As a result of Defendants’ knowing and/or willful violations of 47
U.S.C. § 227(c), Plaintiff is entitled an award of $1,500.00 in statutory damages,
for each and every violation, pursuant to 47 U.S.C. § 227(c)(5).
      47.    Plaintiff is also entitled to and seek injunctive relief prohibiting such
conduct in the future.

                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests judgment against Defendants for the following:

                          FIRST CAUSE OF ACTION

       Negligent Violations of the Telephone Consumer Protection Act
                                47 U.S.C. §227(b)
             As a result of Defendants’ negligent violations of 47 U.S.C.

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            §227(b)(1), Plaintiff is entitled to and request $500 in statutory
            damages, for each and every violation, pursuant to 47 U.S.C.
            227(b)(3)(B).

           Any and all other relief that the Court deems just and proper.

                         SECOND CAUSE OF ACTION

 Knowing and/or Willful Violations of the Telephone Consumer Protection
                                   Act
                              47 U.S.C. §227(b)
           As a result of Defendants’ willful and/or knowing violations of 47
            U.S.C. §227(b)(1), Plaintiff is entitled to      and request treble
            damages, as provided by statute, up to $1,500, for each and every
            violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C.
            §227(b)(3)(C).

           Any and all other relief that the Court deems just and proper.

                         THIRD CAUSE OF ACTION

      Negligent Violations of the Telephone Consumer Protection Act
                              47 U.S.C. §227(c)
           As a result of Defendants’ negligent violations of 47 U.S.C.
            §227(c)(1), Plaintiff is entitled to and request $500 in statutory
            damages, for each and every violation, pursuant to 47 U.S.C.
            227(c)(5).

           Any and all other relief that the Court deems just and proper.

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                        FOURTH CAUSE OF ACTION

 Knowing and/or Willful Violations of the Telephone Consumer Protection
                                   Act
                                47 U.S.C. §227(c)
             As a result of Defendants’ willful and/or knowing violations of 47
             U.S.C. §227(c)(1), Plaintiff is entitled to         and request treble
             damages, as provided by statute, up to $1,500, for each and every
             violation, pursuant to 47 U.S.C. §227(c)(5).

             Any and all other relief that the Court deems just and proper.

      89.    Pursuant to the Seventh Amendment to the Constitution of the
United States of America, Plaintiff is entitled to, and demands, a trial by jury.


                          RESPECTFULLY SUBMITTED April 11, 2018,


                                           /s/ Raymond R. Dieppa
                                                Attorney for Plaintiff


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